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                                                                                             E-FILED
                                                               Thursday, 27 April, 2017 10:08:50 PM
                                                                      Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION


United States of America,                     )
               Plaintiff                      )
                                              )
               vs.                            )      Case No. 15- CR-20022
                                              )
                                              )
                                              )
DANIEL BALLARD,                               )
          Defendant                           )


                  MOTION TO FILE SUPPLEMENTAL AUTHORITY

       Now comes the defendant by his attorney, Lawrence S. Beaumont, and hereby

respectfully requests this court to allow the defendant to file supplemental authority and

in support states as follows:

       (1) During oral argument in the instant matter the question was raised whether or

           not it matters if the prosecutor was specifically aware of the suppressed

           evidence.

       (2) In Kyles v. Whitley, 514 U.S. 419, 437-38; 115 S.Ct. 1555, 1567-68; 131

           L.Ed. 2d 490; 63 USLW 4303 (1995) the Court held it does not matter if the

           prosecutor was personally aware of the Brady material.
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       WHEREFORE, the defendant respectfully requests this court to allow the defense

to cite Kyle as supplemental authority.



                                             Respectfully submitted,

                                             Lawrence S. Beaumont
                                             ___________________
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